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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


GERARD CAMPBELL, individually on behalf of
himself and all others similarly situated,    Case No. 1:16-cv-07176-ILG-PK

             Plaintiffs,                      DEFENDANT DRINK DAILY GREENS,
                                              LLC’S REQUEST FOR JUDICIAL
                                              NOTICE IN SUPPORT OF MOTION TO
      v.                                      DISMISS COMPLAINT, PURSUANT TO
                                              FEDERAL LAW OF CIVIL
DRINK Daily Greens, LLC, a Delaware limited   PROCEDURE 12(B)(1) AND 12(B)(6)
liability company,

             Defendant.
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         Defendant Drink Daily Greens, LLC (“Daily Greens”) hereby requests that the Court take

judicial notice of certain regulations and guidelines promulgated by the U.S. Food and Drug

Administration, pursuant to Rule 201 of the Federal Rules of Evidence, for the reasons outlined

below.

                                            ARGUMENT

         A district court “may judicially notice facts that are ‘not subject to reasonable dispute

because [they] ... can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.’” In re Frito-Lay N. Am., Inc. All Nat. Litig., No. 12-MD-2413 RRM

RLM, 2013 WL 4647512, at *4 (E.D.N.Y. Aug. 29, 2013) (quoting Fed. R. Evid. 201(b)(2)).

Here, Daily Greens requests that the Court take judicial notice of two types of documents: (1) the

contents of certain sections of the Code of Federal Regulations; and (2) various publicly

available guidelines, documents and websites of the U.S. Food and Drug Administration

(“FDA”). Both types of documents are judicially noticeable.

         First, courts may properly take notice of the contents of the Federal Register and Code of

Federal Regulations. Id.; 44 U.S.C. § 1507 (“The contents of the Federal Register shall be

judicially noticed . . . ”); 44 U.S.C. § 1510 (The Code of Federal Regulations is a “special or

supplemental edition[ ] of the Federal Register,” and thus included within 44 U.S.C. § 1507).

         Second, courts may also take judicial notice of federal “agency letters, policy and

guidance documents, websites, and other agency data made available to the public outside of the

Federal Register by administrative agencies.” In re Frito-Lay, 2013 WL 4647512, at *4; see also

Porazzo v. Bumble Bee Foods, LLC, 822 F. Supp. 2d 406, 411–12 (S.D.N.Y. 2011); Cortec

Indus., Inc. v. Sum Hldg. L.P., 949 F.2d 42, 48 (2d Cir. 1991) (holding in ruling on “a motion to

dismiss complaint alleging securities fraud, [district court] may review and consider public



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disclosure documents required by law to be and which actually have been filed with the SEC . .

.”); Thomas v. Westchester Cty. Health Care Corp., 232 F. Supp. 2d 273, 276 (S.D.N.Y. 2002)

(when ruling on a motion to dismiss, “a district court may take judicial notice of, among other

things, ‘records and reports of administrative bodies.’” (citation omitted)). This includes

publicly available documents issued by the FDA. E.g., Porazzo, 822 F. Supp. 2d at 412 (taking

judicial notice of FDA publications, consumer advisories, policy guides and letters that were “all

publicly available on the FDA website”, holding “it is well-established that courts may take

judicial notice of publicly available documents on a motion to dismiss.”); In re Zypreza Prods.

Liability Litig., 549 F. Supp. 2d 496, 501 (E.D.N.Y. 2008) (finding “[p]ublic documents issued

by government agencies such as the [FDA] may also be” judicially noticed); Jones v. ConAgra

Foods, Inc., 912 F. Supp. 2d 889, 901 n.6 (N.D. Cal. 2012) (letter to lawyer from FDA was

“properly judicially noticeable”).

       Accordingly, Daily Greens requests that the Court take judicial notice of the following

documents attached hereto as Exhibits.

       1. Exhibit 1: FDA Guidance for Industry: The Juice HACCP Regulation - Questions &

           Answers (Aug. 31, 2001), available at

           http://www.fda.gov/Food/GuidanceRegulation/GuidanceDocumentsRegulatory

           Information/ucm072981.htm#E

       2. Exhibit 2: FDA Juice HACCP Guidance, Section II, Terms and Definitions (Mar. 3,

           2004) (Section II and V), available at https://www.fda.gov/Food%20/Guidance

           Regulation/GuidanceDocumentsRegulatoryInformation/Juice/ucm072557.htm

       3. Exhibit 3: 21 C.F.R. § 131.3(b)

       4. Exhibit 4: 21 C.F.R. § 133.3(d)



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       5. Exhibit 5: 21 C.F.R. § 120.24(a)

       6. Exhibit 6: 21 C.F.R. § 146.140

       7. Exhibit 7: 21 C.F.R. § 1240.61

       8. Exhibit 8: FDA, Pasteurization, available at

           http://www.accessdata.fda.gov/ORAU/Pasteurization/PAS_04_000.htm

       9. Exhibit 9: 21 C.F.R. § 10.25(b)

       10. Exhibit 10: 21 U.S.C. § 321(n)

       11. Exhibit 11: 21 C.F.R. § 101.17(g)

       12. Exhibit 12: 21 C.F.R. §§ 120.1-120.25

                                        CONCLUSION

       For the foregoing reasons, Daily Greens requests that the Court take judicial notice,

pursuant to Federal Rule of Evidence 201, of the FDA guidelines, publications, websites, and

Code of Federal Regulation sections attached as exhibits hereto.



Dated: March 30, 2017                               BRAUNHAGEY & BORDEN, LLP
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